Case 2:04-cr-20131-STA Document 68 Filed 06/23/05 Page 1 of 2 Page|D 64

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lN THE UN|TED STATES DlSTR|CT COURT

FOR THE WESTERN DlSTR|CT OF TENNESSE§JHN 23 AH“: 06
WESTERN DlVlSION

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UNITED STATES OF AMER|CA,

Plaintiff,
Cr. NO. 04-20131-3

VS..
RONNlE PERK|NS,

Defendant.

ORDER GRANT|NG DEFENDANT’S SECOND MOT|ON
TO CONTINUE SENTENCING HEARlNG

F-or good cause, and Without objection by the government, the Court hereby

GRANTS defendants second motion to continue and reset the sentencing hearing in this

__l'i-~»Q»»\
matter currently set for-'-i'-eiee€h'=ty,l June 30, 2005. The sentencing hearing is hereby RESET

for:mlgd[f§dg:{ Jng 15 @ ll§Qp.m.
ins so oRDEREb,u-nsthe 11/Qday of <f\-»~ ,2005.

 

GJ. D£NIEL BREEN
' d States District Court Judge

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This notice confirms a copy of the document docketed as number 68 in
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Honorable J. Breen
US DISTRICT COURT

